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                                                                     FILED
                                                                         UNITED STATES DISTRICT COURT
                                                                              DENVER, COLORADO
                                                                                 November 13, 2013
                                                                          JEFFREY P. COLWELL, CLERK

                            IN THE UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF COLORADO

   Civil Action No. 13-cv-01945-WJM-CBS

   TYLER SANCHEZ

          Plaintiff,

   v.

   DETECTIVE JOE RYAN HARTLEY,
   DETECTIVE RYAN WOLFF,
   DETECTIVE MIKE DUFFY,
   DETECTIVE HEATHER MYKES, and
   INVESTIGATOR MICHAEL DICKSON, in their individual capacities,
   BOARD OF COUNTY COMMISSIONERS OF DOUGLAS COUNTY,
   DOUGLAS COUNTY SHERIFF’S OFFICE, and
   OFFICE OF THE DISTRICT ATTORNEY FOR THE EIGHTEENTH JUDICIAL
   DISTRICT,

        Defendants.
   ______________________________________________________________________

               SECOND AMENDED COMPLAINT AND JURY DEMAND
   ______________________________________________________________________

          Plaintiff Tyler Sanchez, for his Second Amended Complaint and Jury Demand,

   alleges the following:

                                     I. INTRODUCTION

          1.     This suit arises from the malicious prosecution of Tyler Sanchez, a

   cognitively disabled 18-year-old boy, by four Douglas County Sheriff’s Office Detectives

   and a District Attorney’s Office Investigator, beginning in July of 2009. Mr. Sanchez

   was arrested, interrogated intermittently for 38 hours, and charged for a sexual assault

   and trespass he did not commit because the individual Defendants knowingly and




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   intentionally coerced confessions from him despite awareness of his obvious

   disabilities. Mr. Sanchez was ultimately jailed for four months---much of it in solitary

   confinement because his disabilities put him at risk of harm from other inmates---then

   subjected to GPS monitoring and limitations on his geographic movements until April of

   2012, nearly three years after his arrest. At that time, all charges against Mr. Sanchez

   were finally dropped due to Douglas County’s admission that his statements were the

   product of the officers’ coercive interrogations and Mr. Sanchez’s disabilities, and could

   not support a finding of guilt.

                                 II. JURISDICTION AND VENUE

          2.     Jurisdiction is proper in this Court pursuant to 42 U.S.C. §§ 1983 and

   1988, and 28 U.S.C. §§ 1331 and 1343.

          3.     Venue is proper in this judicial district pursuant to 28 U.S.C. § 1391(b),

   because the unlawful practices alleged herein were committed within the District of

   Colorado.

                                          III. PARTIES

          4.     Plaintiff Tyler Sanchez resides within the District of Colorado.

          5.     Defendant Joe Ryan Hartley was a Detective with the Parker Police

   Department assigned to the Douglas County Sheriff’s Office Pattern Crimes Unit at all

   relevant times and resides within the District of Colorado. Detective Hartley is being

   sued in his individual capacity.

          6.     Defendant Ryan Wolff was a Detective with the Parker Police Department

   assigned to the Douglas County Sheriff’s Office Pattern Crimes Unit at all relevant times




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   and resides within the District of Colorado. Detective Wolff is being sued in his

   individual capacity.

             7.      Defendant Mike Duffy was a Detective with the Douglas County Sheriff’s

   Office at all relevant times and resides within the District of Colorado. Detective Duffy is

   being sued in his individual capacity.

             8.      Defendant Heather Mykes was a Detective with the Douglas County

   Sheriff’s Office at all relevant times and resides within the District of Colorado.

   Detective Mykes is being sued in her individual capacity.

             9.      Defendant Michael Dickson was employed as an Investigator with the

   Office of the District Attorney for the Eighteenth Judicial District at all relevant times and

   resides within the State of Colorado. Investigator Dickson is being sued in his individual

   capacity.

             10.     Defendant Board of County Commissioners of Douglas County is a body

   corporate and politic that may be sued under Colorado law. The County enforces State

   and local laws through the Douglas County Sheriff’s Office in Castle Rock, Colorado.

             11.     Defendant Douglas County Sheriff’s Office is a body corporate and politic

   that may be sued under Colorado law.

             12.     Defendant Office of the District Attorney for the Eighteenth Judicial District

   is a body corporate and politic that may be sued under Colorado law.

                                      IV. FACTUAL ALLEGATIONS 1

             13.     Plaintiff Tyler Sanchez was born on July 23, 1990, and was eighteen

   years old at the time this story began in July of 2009. Mr. Sanchez was born in Denver,



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       Allegations in this Complaint are made upon information and belief.


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   Colorado, raised in Parker, Colorado, and currently resides in Parker, Colorado. Mr.

   Sanchez lives with his mother, father, brother, and two dogs.

          14.   Mr. Sanchez is cognitively and developmentally disabled. Specifically, Mr.

   Sanchez suffers from a mixed receptive-expressive language disorder, borderline

   intellectual functioning, auditory processing deficits, social anxiety, submissive

   personality characteristics, and hearing impairment. His I.Q. tests in the 60s and 70s.

   He also suffers from a seizure disorder, which requires him to take medication that

   impairs his memory.

          15.   This combination of disorders impacts Mr. Sanchez’s ability to listen,

   comprehend, understand, communicate, and apply abstract concepts. Additionally, Mr.

   Sanchez has problems with cognitive demands under time pressure, problems working

   with memory, and possesses auditory processing deficits. He also has problems

   comprehending vocabulary and grammar. His disabilities greatly impact his ability to

   communicate verbally and non-verbally to others. His disorders particularly manifest

   themselves under pressure, stress, questioning by authorities, and sleep deprivation.

          16.   Mr. Sanchez’s disorders make it difficult for him to provide accurate

   information in response to questioning by authority figures and make him particularly

   susceptible to making false and inculpatory statements at the suggestion of authority

   figures.

          17.   Mr. Sanchez’s disabilities are open and obvious. He presents as a

   significantly younger person than his actual age. His inability to understand questions

   and provide appropriate responsive information, as well as his reduced intellectual




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   functioning, are obvious to anyone who speaks with him. It is obvious that he is

   susceptible to suggestions made by authority figures.

          18.    On July 10, 2009, a mother made a 911 call to the Douglas County

   Sheriff’s Office. The caller told the dispatcher that someone had broken into her home

   through her eight-year-old daughter’s window and had sexually assaulted the young girl.

          19.    The eight-year-old girl described the intruder as an older man, about 40

   years old, the same size and build as her father who weighs 190 pounds, with brown

   hair parted in the middle, who was not wearing a hat, did not have any tattoos on his

   hands or arms, and had white skin.

          20.    Other than the color of his skin, Tyler Sanchez does not even bear a close

   resemblance to the intruder. Tyler Sanchez was eighteen years old at the time and

   looked his age or younger. Mr. Sanchez weighs 125 to 130 pounds and has a very thin

   build. Mr. Sanchez’s hair is red and was cut in a close buzz cut at the time. Mr.

   Sanchez had two obvious tattoos on his forearms, one reading “Sanchez” and one

   reading “Michelle,” his girlfriend’s name.

          21.    On July 17, 2009 at approximately 12:40 a.m., Detectives Ryan Wolff and

   Joe Ryan Hartley of the Parker Police Department and Douglas County Sheriff’s Office

   responded to a call regarding a prowler on the 9300 block of Branham Drive in the

   Stonegate neighborhood (the “Branham Drive trespass”). The Detectives learned that

   the silhouette of a male wearing black clothing was observed in a back yard by a

   homeowner and ran from the back yard after seeing the homeowner through a window.

          22.    Beginning at about 1:18 a.m., Detectives Wolff and Hartley interviewed

   Mr. Sanchez in the driveway of his home about the Branham Drive trespass. Another




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   Douglas County Sheriff’s Office Detective, Jason Cirbo, was also in the driveway during

   the interview. The Detectives noted that Mr. Sanchez appeared very nervous and was

   sweating. While the Detectives were questioning Mr. Sanchez, multiple police vehicles

   pulled up around the house.

         23.    While interviewing Mr. Sanchez, Detectives Wolff and Hartley repeatedly

   suggested to Mr. Sanchez specific details about the Branham Drive trespass, then

   asked Mr. Sanchez to describe the incident back to them. Detectives Wolff and Hartley

   had to ask Mr. Sanchez repeated questions before he allegedly described the crime by

   confirming or repeating back the information he was provided by the Detectives.

         24.    Based on Mr. Sanchez’s affect, difficulty in understanding questions,

   difficulty in answering questions, and general demeanor in this interview, Detectives

   Wolff and Hartley knew that Mr. Sanchez suffered from some type of mental impairment

   and limited intelligence. They knew that Mr. Sanchez was not capable of providing

   accurate information in response to their questions and that Mr. Sanchez was

   susceptible to pressure to agree with statements they made to him. As a result, they

   knew that Mr. Sanchez’s statements were not knowing or voluntary and had been

   coerced.

         25.    Based on his alleged responses to Wolff’s and Hartley’s questions, Mr.

   Sanchez was placed in handcuffs and arrested for second degree criminal trespass,

   without a warrant, and transported to the Douglas County Jail.

         26.    At the Jail, Mr. Sanchez was read his Miranda rights and was also

   provided them in written format. Even though he did not understand the verbal or

   written statement of rights, Mr. Sanchez signed the waiver.




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         27.    Beginning at about 2:20 a.m. on July 17, 2009, Detectives Wolff and

   Hartley then interviewed Mr. Sanchez in the booking room of the Douglas County Jail

   about the Branham Drive trespass as well as several other burglaries and trespasses

   that had taken place in the area that summer. Even though Mr. Sanchez bore no

   resemblance to the perpetrator described in connection with the July 10, 2009 sexual

   assault of an eight-year old girl, Wolff and Hartley also interviewed Mr. Sanchez to

   determine whether he had been the perpetrator of that crime. At the time they

   interviewed Mr. Sanchez, Detectives Wolff and Hartley knew that the sexual assault

   victim’s identification of her assailant did not remotely match Mr. Sanchez.

         28.    During the interview, Detectives Wolff and Hartley provided specific details

   about the Branham Drive trespass and the sexual assault to Mr. Sanchez and then

   asked him exclusively “yes or no” questions regarding whether he committed the

   criminal acts. In response, Mr. Sanchez was unable to provide any details about the

   incidents. Wolff and Hartley noted that Mr. Sanchez appeared unsure about what he

   supposedly did during each crime. At least one detail Mr. Sanchez falsely confessed to

   regarding the Branham Drive trespass--that he fled the yard when a porch light came

   on---was untrue according to the homeowner’s own statement that he never turned a

   light on, but was suggested to Mr. Sanchez by the Detectives. In addition to providing

   details to Mr. Sanchez, the Detectives intentionally led Mr. Sanchez to falsely believe

   that his DNA had been found in locations which implicated him in the crimes.

         29.    During this interview, in response to “yes or no” questions, Mr. Sanchez

   admitted to entering the home where the sexual assault occurred; however, he denied

   sexually assaulting the little girl. Mr. Sanchez’s admissions were not knowing,




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   voluntary, or accurate. Mr. Sanchez neither entered the home where the sexual assault

   occurred, nor committed the assault itself.

          30.     During the interview, Mr. Sanchez also falsely confessed to other

   burglaries and trespasses under investigation by the Douglas County Sheriff’s Office,

   including at least one in which Wolff and Hartley knew he did not remotely match the

   complainant’s physical description of the actual perpetrator, who had “long, greasy

   black hair.”

          31.     Based on Mr. Sanchez’s affect, difficulty in understanding questions,

   difficulty in answering questions, and general demeanor in this interview and the

   driveway interview, Detectives Wolff and Hartley knew that Mr. Sanchez suffered from

   some type of mental impairment and limited intelligence. They knew that Mr. Sanchez

   was not capable of providing accurate information in response to their questions and

   that Mr. Sanchez was susceptible to pressure to agree with statements they made to

   him. They also knew that Mr. Sanchez’s multiple confessions were unlikely to be

   accurate given that they contradicted witnesses’ descriptions of events. As a result,

   they knew that Mr. Sanchez’s testimony during their interview, as well as the earlier

   driveway interview, was not knowing or voluntary and had been coerced.

          32.     In fact, Detectives Wolff and Hartley were so unsure of Mr. Sanchez’s

   ability to provide accurate information that they asked him whether he truly committed

   the crimes to which he confessed, or was just saying what the Detectives wanted him to

   say. Detective Wolff later wrote that during the interview, Mr. Sanchez often seemed

   “unsure of what he did during the commission of each crime,” that he had trouble

   remembering things, and that his answers to questions were often “vague.” However,




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   Wolff and Hartley did not include this information in their July 17, 2009 Progress Report

   summarizing the interview.

          33.     Wolff and Hartley’s interview of Mr. Sanchez was video recorded, but the

   recording was destroyed while in the custody of the Douglas County Sheriff’s Office and

   was never produced to Mr. Sanchez. The destruction occurred after the Court ordered

   that video recordings relevant to the case be preserved.

          34.     At 4:45 a.m. on July 17, 2009, Detective Cirbo signed a Statement in

   Support of Warrantless Arrest of Mr. Sanchez for the Branham Drive trespass which

   took place earlier that night. Around the same time, Detective Cirbo signed a

   Misdemeanor Summons and Complaint for the Branham Drive trespass. Detective

   Cirbo relied upon Hartley and Wolff’s representations regarding their interviews of Mr.

   Sanchez, including their omission of any information about his obvious disabilities and

   their observations thereof. As a result of these omissions, Detective Cirbo’s Statement

   made no mention of any information suggesting Mr. Sanchez had any disabilities or

   limitations.

          35.     Detectives Heather Mykes and Mike Duffy of the Douglas County Sheriff’s

   Office were assigned to investigate the July 10, 2009 sexual assault. Early on the

   morning of July 17, they were informed of Mr. Sanchez’s answers to questions about

   the incident in his interview with Detectives Wolff and Hartley.

          36.     Beginning around 7:37 a.m. on July 17, 2009, subsequent to the interview

   conducted by Detectives Wolff and Hartley, Detectives Mykes and Duffy interviewed Mr.

   Sanchez. At the time the interview began, Mr. Sanchez had been awake since the

   morning of July 16, 2009---roughly 24 hours---with little or no sleep. Detectives Wolff




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   and Hartley briefed Mykes and Duffy before they began their interview and provided

   them with a copy of the Progress Report authored by Hartley with Wolff’s assistance.

          37.    At the time they interviewed Mr. Sanchez, Detectives Duffy and Mykes

   knew that the sexual assault victim’s identification of her assailant did not match Mr.

   Sanchez. They also knew that Mr. Sanchez’s blood alcohol content had just been

   tested and that the test came back showing no alcohol in his system, removing the

   possibility that his obvious impairments could be explained by intoxication. From

   Detective Hartley’s Progress Report, they knew that Mr. Sanchez had to be closely

   questioned during his earlier interviews on whether he was simply saying what he

   thought officers wanted to hear when he admitted to various criminal acts.

          38.    At the beginning of the interview, Detective Duffy provided a verbal

   Miranda warning to Mr. Sanchez, which he did not understand. Mykes and Duffy

   observed that Mr. Sanchez appeared very tired, yawned frequently, spoke with his eyes

   closed, and rested his head in his hands or on the table. Mr. Sanchez stated multiple

   times throughout the interview that he was tired. He informed the officers that he had

   only had two hours of sleep in the last two days. He was observed to be extremely

   anxious and his legs frequently shook.

          39.    Both Detectives observed that Mr. Sanchez had difficulty expressing

   himself verbally throughout the interview. Many of Mr. Sanchez’s responses to

   questions were non-verbal in nature, either a nod of the head “yes,” shake of the head

   “no,” or no response at all. Mr. Sanchez also frequently responded with “I don’t

   remember” or “I’m tired” when asked about the specific crimes in question. He

   answered questions slowly and hesitantly, with obvious difficulty.




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          40.    At the outset of the interview, Mr. Sanchez expressed his extreme anxiety

   when talking to authority figures. For example, when Detective Mykes asked if he was

   under the influence of drugs or alcohol, he said “No,” and added, referring to Detectives

   Hartley and Wolff, “That’s what they thought . . . when . . . I talked to them first, but . . .”

   Detective Mykes said, “The reason I’m asking is you seem . . . ” and when she trailed

   off, Mr. Sanchez attempted to explain his disabilities and his fear of authority figures,

   stating, “I usually get hesitated when . . . I talk to . . . these kinds of people.” Mr.

   Sanchez also stated early on in the interview that “I can’t stop shaking,” “I can’t even

   speak,” and “I want to . . . I want to get out of here.”

          41.    Mr. Sanchez made an effort early in the interview to explain to Detectives

   Mykes and Duffy that he had been coerced by Hartley and Wolff into confessing to

   crimes he did not commit. He explained, “I had to tell them a different story cuz they

   weren’t being . . . they weren’t being like . . . cooperative, saying I was lying” and that as

   a result, he had told Hartley and Wolff that “I went into somebody’s backyard, which I

   didn’t.” He also revealed that Hartley and Wolff had led him to believe they had DNA

   evidence connecting him to the crimes, stating that “somehow they got DNA fingerprints

   from -- I don’t know. It’s just -- I give up.” Rather than correct this misimpression,

   Mykes and Duffy continued to intentionally lead Mr. Sanchez to believe that his DNA

   had been found at the house where the sexual assault occurred.

          42.    Detectives Mykes’ response was to tell Mr. Sanchez, “I know those guys

   [Hartley and Wolff] pretty well. . . I know they weren’t forcing you to say what you said

   this morning. I know that, okay?” Later in the interview, Detective Mykes told Mr.




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   Sanchez it was “time to start talking,” and he responded, alluding to his earlier false

   confessions, “this is what happened last . . . time with the other . . . two Detectives.”

          43.    Throughout the interview, Detectives Mykes and Duffy observed that Mr.

   Sanchez was behaving strangely, including laughing and smiling nervously at odd

   times; had a poor memory; and made numerous inconsistent statements. When

   Detectives Mykes and Duffy pushed him to clarify his statements, he stated, “This is

   aggravating me . . . This is like . . . uh . . . cuz I just wanted to get home. I don’t want to

   be here.”

          44.    During the interview, Mr. Sanchez repeatedly had to ask the Detectives to

   repeat their questions because of his hearing impairment and cognitive disabilities.

          45.    During the interview, Mykes and Duffy observed that Mr. Sanchez’s ability

   to respond to questions was impaired. As a result, they inquired a second time as to

   whether he had taken any drugs and alcohol, and Mr. Sanchez agreed to undergo a

   drug and alcohol test. Later, at a third point in the interview, Detective Mykes told Mr.

   Sanchez she would be taking a urine sample because “I need to know that you’re not

   on something,” and Mr. Sanchez again tried to explain his disabilities, stating, “I’m like

   this most of the time anyways” and “People . . . ask questions if I’m on anything.”

   Mykes later testified that her concern about drug or alcohol impairment arose because

   of her specific observations that Mr. Sanchez had difficulty remembering things, had

   difficulty formulating answers to questions, and was slow to answer questions.

          46.    Toward the end of the interview, Mr. Sanchez offered to take a lie detector

   test. Mykes and Duffy then pressed him on whether he actually committed the trespass

   and sexual assault. Mr. Sanchez responded, “that’s like . . . when I heard that . . . it’s




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   everything going against me now. Not even . . . Cuz everything going against me.

   Now things that I didn’t even do. Not unless I dreamed walk. Unless I was dreaming”

   and, later, “I’ve stayed up . . . for like . . . over thirty hours now. I want to . . . I haven’t

   got any answers.”

          47.     Based on Mr. Sanchez’s affect, difficulty in understanding questions,

   difficulty answering questions, and general demeanor, as well as Detectives Hartley and

   Wolff’s briefing, Detectives Mykes and Duffy knew that Mr. Sanchez suffered from some

   type of mental impairment and limited intelligence. They knew that Mr. Sanchez was

   not capable of providing accurate information in response to their questions and that Mr.

   Sanchez was susceptible to pressure to agree with statements made to him. As a

   result, they knew that Mr. Sanchez’s testimony during his interview with them and prior

   interviews with Hartley and Wolff was not knowing or voluntary and had been coerced.

          48.     Mykes and Duffy completed their interview around 11:30 a.m. on July 17,

   2009, at which point Mr. Sanchez had been awake for well over 24 hours. Mr. Sanchez

   went to sleep in the Jail at roughly 11:00 p.m. that night.

          49.     During the afternoon of July 17, 2009, Detectives Mykes and Duffy

   interviewed Brian Coshnitzke, an acquaintance of Mr. Sanchez. Mr. Coshnitzke told the

   Detectives that Mr. Sanchez “ain’t all up there. He -- he’s different.” Later, he added,

   “We used to call him Silent T.” Mykes then asked, “Let me ask a real quick question

   about Tyler, ‘cause he has some mannerisms that are a little interesting. Does he kind

   of phase off sometimes when you’re talkin[g] to him?” Duffy added, “Like zone out?”

   Mr. Coshnitzke replied, “He was a weird kid, man.” Mykes later explained, “I was just




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   wonderin[g], ‘cause like I said, when we talked to him, he kinda phased out a couple

   times.”

         50.    At about 7:00 a.m. on July 18, 2009, Mr. Sanchez’s father Anthony

   Sanchez arrived at the Douglas County Jail to pay his son’s bond. For roughly four

   hours, Mr. Sanchez was prevented from making payment by Jail personnel who told

   him incorrectly that Ms. Sanchez was “still being processed” and he should “check back

   later,” or that the computer system which processes bond payments was running slowly

   or was “down.” During this time, Anthony Sanchez observed other individuals leaving

   the Jail after bond was posted for them. This incorrect information was given to

   Anthony Sanchez at the request of Detectives Mykes and Duffy.

         51.    On July 18, 2009 at 8:45 a.m., Detectives Mykes and Duffy transported

   Mr. Sanchez from the Douglas County Sheriff’s Office to the District Attorney’s Office for

   a polygraph exam, to be taken by Investigator Mike Dickson. On the instructions of

   Detectives Mykes and Duffy, Anthony Sanchez was never told by Jail personnel that his

   son was being transported to another jurisdiction or that he was being interrogated while

   his father waited to pay his bond.

         52.    Before the polygraph started, Detective Mykes briefed Investigator

   Dickson on the case. Dickson learned that the sexual assault victim’s identification of

   her assailant did not match Mr. Sanchez.

         53.    Before the polygraph started, Mr. Sanchez reported that he suffered from

   a seizure disorder which impaired his memory. He also told Detectives Mykes and

   Duffy and Investigator Dickson that he has trouble talking when he gets nervous.

   Mykes and Duffy confirmed with Jail personnel that Mr. Sanchez was on seizure




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   medication. In addition, Mykes, Duffy, and Dickson knew by this time that Mr. Sanchez

   could not be under the influence of any non-prescription drugs or alcohol, as he had

   been in custody for over 31 hours.

         54.    Based on Mr. Sanchez’s affect, difficulty in understanding questions,

   difficulty answering questions, general demeanor, and known seizure disorder, as well

   as Detective Mykes’ briefing, Investigator Dickson knew that Mr. Sanchez suffered from

   some type of mental impairment and limited intelligence. He knew that Mr. Sanchez

   was not capable of providing accurate information in response to his questions and that

   Mr. Sanchez was susceptible to pressure to agree with statements made to him. As a

   result, he knew that Mr. Sanchez’s statements during his polygraph interview and all

   prior interviews, as well as the written statement he produced during his polygraph

   interview with Investigator Dickson, were not knowing or voluntary and had been

   coerced.

         55.    Investigator Dickson began by questioning Mr. Sanchez to develop

   questions for the polygraph. While developing the questions, Dickson asked how much

   Mr. Sanchez knew about the sexual assault allegations. Mr. Sanchez then repeated

   back almost verbatim what the four Detectives had told him during questioning the

   previous day. Investigator Dickson then provided Mr. Sanchez with additional

   information regarding what he believed had happened during the sexual assault.

         56.    Before administering the polygraph, Investigator Dickson noted that Mr.

   Sanchez seemed tired and was yawning frequently. Throughout the polygraph

   interview and test, Dickson observed that Mr. Sanchez had difficulty understanding and

   answering questions. During the interview, Investigator Dickson reinforced the




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   Detectives’ repeated implication that Mr. Sanchez’s DNA would be found at the scene of

   the sexual assault.

          57.    While Mr. Sanchez’s interview with Investigator Dickson was underway,

   around 11:00 in the morning, his father Anthony Sanchez was finally allowed to pay his

   bond. Anthony Sanchez was told that it generally take about forty minutes for someone

   to be released from the Jail once bond is paid. When his son had not appeared after an

   hour, he inquired, and was kept waiting with vague and conflicting excuses that the

   “system was slow” or the “computer was down” for several more hours. Anthony

   Sanchez was never told that his son was being interrogated while he waited. In fact,

   Anthony Sanchez was kept waiting not because of a system problem, but because of

   instructions from Mykes and Duffy that Mr. Sanchez could not yet be released.

          58.    After administering the polygraph, Investigator Dickson informed Mr.

   Sanchez that he had failed the polygraph on two questions: (1) “Did you touch that

   girl’s vaginal area?” and (2) “Did you touch her between the legs?” Mr. Sanchez

   responded despairingly, “But I don’t remember doing any of this. That’s what I’m trying

   to say.”

          59.    Investigator Dickson then suggested that what Mr. Sanchez really meant

   to say was “It could have happened, but I don’t remember.” Mr. Sanchez acceded to

   this suggestion. He explained that “I fell asleep [on the night of the assault] and then I

   woke up -- I woke up that next morning in my bed,” but went on, “I might have woke up

   [during the night] out of nowhere . . . And might have done that [the assault] because

   there’s many -- there’s many things I don’t remember doing.” Pressed further, he




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   agreed that “I could have done it and . . . I just don’t remember” and “I could have

   probably done it in my sleep.”

          60.     Contrary to his repeated assertions that he had no memory other than

   falling asleep in his bed that night, Mr. Sanchez then drafted a brief statement in which

   he confessed to breaking into the girl’s house, but not to sexually assaulting her. He

   dated the statement 2:13 p.m. on July 18, 2009. Every fact in the statement had been

   told to him by one or more Defendants during his multiple interviews. At least one fact

   in the statement---that the little girl had screamed---was actually inconsistent with the

   victim’s own statements about the assault but had been suggested to Mr. Sanchez

   during the interviews.

          61.     In the course of his employment with the Office of the District Attorney for

   the Eighteenth Judicial District (the “Office”), Investigator Dickson has received only

   minimal training as a polygraph examiner and has not received training on appropriate

   and non-coercive use of the polygraph during an interrogation, or on appropriate and

   non-coercive use of the polygraph to interview individuals with disabilities or low IQs.

   The Office knew that Investigator Dickson and other employees were authorized to

   conduct polygraph examinations and did in fact conduct such examinations, knew that

   these employees would use polygraph examinations as interrogation techniques, knew

   that these employees would use polygraph examinations when interviewing individuals

   with disabilities and low IQs, and knew that failing to train Investigator Dickson and

   other employees on the aforementioned topics gave rise to a risk of coerced

   confessions.




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         62.    Before Mr. Sanchez wrote and signed his statement, at 1:56 p.m.,

   Detective Mykes received a page message informing her that his bond on the trespass

   charge had been paid by his father and “we have no reasons to hold him.” A second

   message added, “[Anthony] Sanchez needs an explanation. This needs to happen

   now.” Detective Mykes received the page messages, but ignored them, and did not

   stop the questioning of Mr. Sanchez, contact Mr. Sanchez’s father, or inform Mr.

   Sanchez that he was free to leave. Detective Mykes learned of the bond payment even

   before she received the page messages.

         63.    After Mr. Sanchez completed his written statement, Investigator Dickson

   asked him a series of follow-up questions about it. Mr. Sanchez was unable to answer

   the most basic questions regarding his alleged role in the offense.

         64.    For example, in response to Dickson’s questions, Mr. Sanchez could not

   explain how he allegedly reached the screened second-story window of the young girl’s

   bedroom. Investigator Dickson suggested a ladder, and Mr. Sanchez then agreed, “I

   used the ladder to get on the roof.” This statement could not have been correct,

   because no ladder was found at the scene---as Mykes, Duffy and Dickson knew. Mr.

   Sanchez also could not explain how he opened the window, whether the window had a

   screen, where the window was located on the house, or how he got down from the roof.

         65.    Mr. Sanchez was then verbally advised of his Miranda rights in relation to

   the charge of sexual assault on a child by Detective Duffy, who told him only that he

   was being held on a “new charge” with no explanation of the nature or gravity of that

   charge. Only at this point, when Mr. Sanchez asked, “Did my parents call?,” was he

   informed that his parents had paid his bond on the prior charges.




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          66.    Detectives Mykes and Duffy proceeded to reinterview Mr. Sanchez, in

   another attempt to fill in the many missing details in his statement. Mr. Sanchez was

   utterly unable to provide any additional information about the alleged sexual assault

   beyond what the officers had told him. He continued to show great difficulty in

   answering questions and to provide many nonverbal answers and physical indications

   of confusion and distress, and asked repeatedly for his parents.

          67.    Based on Mr. Sanchez’s affect, difficulty in understanding questions,

   difficulty answering questions, general demeanor, and known seizure disorder,

   Detectives Duffy and Mykes and Investigator Dickson knew that Mr. Sanchez suffered

   from some type of mental impairment and limited intelligence. They knew that Mr.

   Sanchez was not capable of providing accurate information in response to their

   questions and that Mr. Sanchez was susceptible to pressure to agree with statements

   they made to him. As a result, they knew that Mr. Sanchez’s testimony during their

   interview and all prior interviews, and his written statement to Investigator Dickson, were

   not knowing or voluntary and had been coerced. Detective Mykes wrote in her notes

   regarding the interview that she questioned Mr. Sanchez’s “cognitive abilities.”

          68.    At roughly 3:00 p.m. on July 18, 2009, Detective Mykes finally informed

   Anthony Sanchez that his son was detained on a new charge of sexual assault on a

   child and had written a confession. Anthony Sanchez immediately told Mykes that his

   son did not have the capacity to make the decisions required to confess to a crime, and

   added that this should have been obvious to anyone who spoke to him for more than a

   few minutes. Detective Mykes acknowledged to Anthony Sanchez that she had noticed




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   Mr. Sanchez’s disabilities, but said that they were irrelevant because he was an adult.

   Mykes then returned to continue her interrogation of Mr. Sanchez.

          69.    Anthony Sanchez then called the Douglas County Public Defender’s

   Office, and Public Defender Tom Ward arrived and ended the interrogation at about

   3:20 p.m. At that point, Mr. Sanchez had been in custody for approximately 38 hours

   and had been actively interviewed for roughly 15 hours.

          70.    In the course of her employment with the Douglas County Sheriff’s Office,

   Detective Heather Mykes has received training on interrogation techniques, but she has

   not been trained regarding how to properly apply those techniques to suspects who may

   be vulnerable to coercion due to disabilities or low IQ. The Douglas County Sheriff’s

   Office and Board of County Commissioners knew that Detectives working for the

   Sheriff’s Office would interrogate suspects with disabilities and low IQs during the

   course of their employment, and knew that failing to specially train them on conducting

   such interrogations gave rise to a risk of coerced confessions.

          71.    On July 18, 2009, Detective Mykes drafted and signed a Statement in

   Support of Warrantless Arrest of Mr. Sanchez on three felony charges related to the

   sexual assault. She did not report Mr. Sanchez’s known seizure disorder,

   communication difficulties, or cognitive limitations in the statement. Detective Duffy and

   Investigator Dickson assisted with the drafting of the Statement in Support of

   Warrantless Arrest. That same day, Detective Mykes described Mr. Sanchez’s false

   written and verbal confessions by phone to a judge, who authorized a $1,000,000 bond.

   Mykes did not report Mr. Sanchez’s known seizure disorder, communication difficulties,

   or cognitive limitations, or the resulting unreliability of his confessions, to the judge.




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          72.    On July 19, 2009, Defendant Duffy interviewed Mr. Sanchez’s father,

   Anthony Sanchez. Anthony Sanchez described his son’s disabilities in detail to Duffy,

   explaining among other things that he cannot speak or communicate well, has seizures,

   is unusually compliant with others’ demands, attended Special Education classes

   throughout school, and did not speak his first word until he was 5 years old. During the

   interview, Duffy requested that Anthony Sanchez sign an authorization to obtain Mr.

   Sanchez’s school records. Duffy briefed Detectives Mykes, Hartley and Wolff on this

   interview.

          73.    On July 20, 2009, in reliance upon Hartley and Wolff’s statements and

   omissions about their interviews with Mr. Sanchez, the District Attorney filed the

   Misdemeanor Summons and Complaint drafted by Detective Cirbo for the Branham

   Drive trespass. Hartley and Wolff did not report Mr. Sanchez’s known seizure disorder,

   communication difficulties, or cognitive limitations, or the resulting unreliability of his

   confessions, to the District Attorney. The District Attorney did not review the videotaped

   interviews of Mr. Sanchez by Detectives Mykes and Duffy and Investigator Dickson or

   transcripts thereof before filing the Summons and Complaint.

          74.    On the same date, a magistrate judge signed a determination finding

   probable cause to detain Mr. Sanchez for committing the Branham Drive trespass,

   based on Detective Cirbo’s Statement in Support of Warrantless Arrest. The magistrate

   kept Mr. Sanchez’s bond at $1,000,000 for the pending sexual assault charges, and

   noted that the bond was set at $1,000,000 rather than $100,000 because Mr. Sanchez

   was alleged to have committed the Branham Drive trespass just a week after allegedly

   committing the sexual assault. In making these determinations, the magistrate




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   reviewed and relied upon Detective Mykes’ Statement in Support of Warrantless Arrest

   for the sexual assault.

          75.    On July 22, 2009, Detective Mykes drafted and signed an Affidavit in

   support of a warrant for Mr. Sanchez’s arrest on the three felony charges arising from

   the sexual assault. Again, she did not report Mr. Sanchez’s known seizure disorder,

   language difficulties, and cognitive limitations, or the resultant unreliability of his

   confessions, in the Affidavit. Under “Known Medical Problems” on the accompanying

   Information Slip, Mykes wrote, “Not Noted.” Detective Duffy and Investigator Dickson

   assisted with the drafting of this Affidavit.

          76.    Relying upon the information in Mykes’ Affidavit and earlier Statement in

   Support of Warrantless Arrest, as well as information verbally communicated by

   Detectives Mykes and Duffy and Investigator Dickson, the District Attorney filed a

   Felony Complaint and Information on the three charges arising from the sexual assault

   on July 22, 2009. Both Mykes’ Affidavit, and her earlier Statement in Support of

   Warrantless Arrest, were filed with the Court. The District Attorney did not review the

   videotaped interviews of Mr. Sanchez by Detectives Mykes and Duffy and Investigator

   Dickson or transcripts thereof before filing the Complaint. Mykes, Duffy and Dickson

   intentionally omitted information about Mr. Sanchez’s obvious disabilities and known

   seizure disorder, and the resultant unreliability of his confessions, when drafting the

   Affidavit and communicating with the District Attorney.

          77.    On July 23, 2009, Mr. Sanchez appeared before a judge for the filing of

   charges arising from the sexual assault. The judge reviewed Mykes’ Statement in

   Support of Warrantless Arrest and Affidavit. The judge denied a bond reduction, again




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   based in part upon the allegation that Mr. Sanchez had also committed the Branham

   Drive trespass. A bond reduction was also denied on July 31, 2009, after the judge’s

   review of Mykes’ Statement and Affidavit and based in part upon the Branham Drive

   trespass allegation.

          78.    On August 4, 2009, despite knowing that Mr. Sanchez was represented by

   counsel and did not have the mental capacity to knowingly and voluntarily respond to

   questioning, Detective Wolff and another officer visited Mr. Sanchez at the Jail and

   attempted to reinterview him yet again.

          79.    As the case progressed, Defendants continually learned new information

   regarding Mr. Sanchez’s disabilities and the reasons for his obvious limitations during

   their interviews. For example, on August 5, 2009, Defendants Mykes and Duffy

   received the results of the drug and alcohol testing performed on Mr. Sanchez’s urine

   sample. The sample was negative for any drugs and alcohol, eliminating those as

   potential causes for Mr. Sanchez’s obvious impairment on July 17 and 18, 2009. The

   Detectives also interviewed numerous witnesses who described Mr. Sanchez’s

   disabilities to them, including his girlfriend and coworkers.

          80.    On January 6, 2010, Detective Mykes drafted and signed an Affidavit for

   Arrest Warrant on a new felony charge arising from the Branham Drive trespass, in

   addition to the previously-filed misdemeanor charge. Once again, Mykes did not

   include any mention of report Mr. Sanchez’s known seizure disorder, communication

   difficulties, or cognitive limitations in the Affidavit. Detectives Hartley, Wolff and Duffy

   and Investigator Dickson assisted with the drafting of this Affidavit. The District Attorney




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   filed the Affidavit in Douglas County County Court on January 6, 2010 and filed a Felony

   Complaint and Information on this additional charge on January 7, 2010.

         81.    On March 30, 2010, the Douglas County County Court began a

   preliminary hearing regarding the felony allegations against Mr. Sanchez. The hearing

   continued on April 27 and 28, 2010. At the hearing, Detectives Wolff and Mykes

   testified in support of the charges against Mr. Sanchez. Each testified regarding the

   statements made by Mr. Sanchez and suggested that his statements were given in a

   knowing and voluntary manner and were not coerced. At the time of their testimony,

   Detectives Wolff and Mykes knew that Mr. Sanchez’s statements were not knowing or

   voluntary and had been coerced.

         82.     Detective Wolff falsely claimed during the hearing that he saw no

   indications that Mr. Sanchez was suffering from any mental health issue, that Mr.

   Sanchez never told him he was suffering from sleep deprivation, that Mr. Sanchez

   never gave any indication that he didn’t understand anything the Detectives asked him,

   that Mr. Sanchez frequently gave narrative responses to the Detectives’ questions, and

   that it was not possible that Mr. Sanchez’s eventual confession was false.

         83.    Detective Mykes falsely claimed that she had no indication that Mr.

   Sanchez was mentally compromised or had a developmental disability, and that it was

   not possible that Mr. Sanchez’s confession was false.

         84.    Based on the false inculpatory statements made by Mr. Sanchez to the

   Defendants and their testimony regarding those statements, the Court found that there

   was probable cause to pursue all four felony charges against Mr. Sanchez.




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          85.    On March 9, 2012, the Douglas County District Attorney’s Office received

   the results of an independent medical examination of Mr. Sanchez by the Colorado

   Mental Health Institute at Pueblo (“CMHIP”). Among other things, the CMHIP Report

   concluded that the inculpatory statements made by Mr. Sanchez were not made in a

   knowing and voluntary fashion, but were rather the result of suggestions made by the

   Defendants, and that Mr. Sanchez’s disabilities combined with the Defendants

   treatment of him provided a reasonable basis to believe that his confessions were false.

          86.    In two motions filed on April 4, 2012 and April 12, 2012, based upon the

   CMHIP independent medical examination, the Douglas County District Attorney’s office

   dismissed all charges against Mr. Sanchez. The dismissals were not based upon any

   agreement of compromise with Mr. Sanchez, but only upon the likely falsity of his

   confessions and the prosecution’s resultant inability to meet its burden of proof. The

   District Attorney’s motions explained that “based on [Mr. Sanchez]’s intellectual

   disabilities, cognitive functioning impairments, and speech and language disabilities,”

   his statements could not be relied upon as evidence and “the People are left with

   insufficient evidence” to prove the charges against him.

          87.    As a result of false charges leveled against Mr. Sanchez, he spent four

   months (125 days) in detention in the Douglas County Jail, much of it in solitary

   confinement due to his inability to protect himself from other inmates because of his

   disabilities. He then spent over five months (159 days) subject to restrictions on his

   geographic location that prevented him from living in his own home with his parents or

   from entering a large part of Douglas County, required him to live with relatives in

   Englewood, and required GPS monitoring. Finally, beginning at the end of the




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   preliminary hearing, he spent nearly two years (715 days) subject to restrictions on his

   geographic location that allowed him to return to live at his family home but still

   restricted his movements and required GPS monitoring. During this time, Mr. Sanchez

   was prohibited from entering most of the town of Parker, Colorado, an area which

   included many of the places to which he frequently travelled prior to his arrest,

   including, for example, his grandparents’ homes. This restriction made it difficult for Mr.

   Sanchez to travel to job sites where he worked for his father’s company. From the time

   of his release from jail, Mr. Sanchez was also prohibited from being near children under

   age 18, which restrained his freedom of movement significantly and meant he could not

   enter or travel to many public places which he frequented before his arrest. These

   restrictions constituted non-standard conditions of pretrial release. Each of these

   restrictions constituted a seizure and a violation of Mr. Sanchez’s liberty interests.

            88.   As a result of the false charges brought against him, Mr. Sanchez suffered

   extreme emotional distress, including depression, anxiety, humiliation, extreme feelings

   of guilt, and exacerbation of his preexisting disorders.

            89.   As a result of the false charges brought against him, Mr. Sanchez suffered

   damage to his reputation, lost wages, and was required to expend substantial amounts

   of money on attorneys’ fees and costs and the costs of GPS monitoring, among other

   costs.

            90.   In this case, Defendants’ misconduct was willful and wanton and taken

   with reckless disregard for Mr. Sanchez’s rights and feelings.

            91.   In this case, Defendants’ actions violated clearly-established law of which

   a reasonable person in their position would have known.




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                                    V. CLAIM FOR RELIEF


                              FIRST CLAIM FOR RELIEF
      Malicious Prosecution in Violation of the Fourth Amendment and Fourteenth
              Amendment Procedural Due Process under 42 U.S.C. § 1983
                               (Against All Defendants)

          92.    Plaintiff Sanchez incorporates Paragraphs 1 through 91 as if fully restated

   herein.

          93.    Defendants caused Plaintiff Sanchez’s continued confinement and

   prosecution after the institution of legal process.   Among other things, Defendants did

   so by knowingly coercing Plaintiff Sanchez’s false inculpatory statements; by arresting

   Mr. Sanchez based solely upon these statement; by pursuing the filing of charges

   based solely upon these statements; by omitting exculpatory information and falsely

   asserting that Mr. Sanchez’s statements were true, reliable, and not coerced when

   informing the District Attorney of Mr. Sanchez’s statements; by omitting exculpatory

   information and falsely asserting that Mr. Sanchez’s statements were true, reliable and

   not coerced when communicating with magistrates who set bail and determined

   probable cause; by omitting exculpatory information and falsely asserting that Mr.

   Sanchez’s statements were true, reliable and not coerced in written Statements in

   Support of Warrantless Arrest and Affidavits in Support of Arrest; and by omitting

   exculpatory information and falsely testifying during the March 30, 2010 and April 27 to

   28, 2010 preliminary hearing on probable cause that the statements were true, reliable,

   and not coerced.

          94.    The legal process instituted by Defendants was terminated in favor of

   Plaintiff Sanchez when the prosecution dismissed the charges against him due to lack

   of evidence in April 2012.


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          95.    No probable cause supported Plaintiff Sanchez’s continued confinement

   and prosecution at the time of institution of legal process against him. Mr. Sanchez’s

   statements lacked sufficient reliability to provide probable cause and Defendants knew

   this from the time they were made.

          96.    Defendants acted with malice.

          97.    As a result of Defendants’ conduct, Plaintiff Sanchez suffered damages.

          98.    Defendants Board of County Commissioners and Douglas County

   Sheriff’s Office failed to properly train and supervise their employees to avoid the use of

   coercive interrogation tactics on vulnerable suspects and the pursuit of prosecution

   based on coerced statements.

          99.    Defendants Board of County Commissioners and Douglas County

   Sheriff’s Office knew, or should have known, that their employees would use coercive

   interrogation tactics on vulnerable suspects and pursue prosecution based on coerced

   statements. Defendants Board of County Commissioners and Douglas County Sheriff’s

   Office were deliberately indifferent to the constitutional rights of citizens, knowing that

   dangerous consequences could be suffered by citizens such as Plaintiff Sanchez by

   failing to properly train their employees in this regard.

          100.   The policy, custom, and practice of Defendants Board of County

   Commissioners and Douglas County Sheriff’s Office in failing to properly train their

   employees was the moving force and proximate cause of the violation of Plaintiff

   Sanchez’s constitutional rights and caused Plaintiff Sanchez’s damages.

          101.   Defendant Office of the District Attorney for the Eighteenth Judicial District

   failed to properly train and supervise its employees to avoid either the use of improper




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   polygraph examinations and coercive use of polygraph examinations during

   interrogations of vulnerable suspects, or the pursuit of prosecution based on coerced

   statements.

          102.   Defendant Office of the District Attorney for the Eighteenth Judicial District

   knew, or should have known, that its employees would conduct improper polygraph

   examinations and use of polygraph examinations coercively during interrogations of

   vulnerable suspects, and would pursue prosecution based on coerced statements.

   Defendant Office of the District Attorney for the Eighteenth Judicial District was

   deliberately indifferent to the constitutional rights of citizens, knowing that dangerous

   consequences could be suffered by citizens such as Plaintiff Sanchez by failing to

   properly train its employees in this regard.

          103.   The policy, custom, and practice of Defendant Office of the District

   Attorney for the Eighteenth Judicial District in failing to properly train its employees was

   the moving force and proximate cause of the violation of Plaintiff Sanchez’s

   constitutional rights and caused Plaintiff Sanchez’s damages.

          WHEREFORE, Plaintiff Sanchez respectfully requests that this Court enter

   judgment in his favor and against the Defendants, and grant:

          (a)    Appropriate declaratory and other injunctive and/or equitable relief;

          (b)    Compensatory and consequential damages, including damages for

                 emotional distress, loss of reputation, humiliation, loss of enjoyment of life,

                 and other pain and suffering on all claims allowed by law in an amount to

                 be determined at trial;

          (c)    All economic losses on all claims allowed by law;




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         (d)   Punitive damages on all claims allowed by law and in an amount to be

               determined at trial;

         (e)   Attorney fees and the costs associated with this action, including those

               associated with having to defend against the false criminal charge as well

               as expert witness fees, on all claims allowed by law;

         (f)   Pre- and post-judgment interest at the lawful rate; and

         (g)   Any further relief that this Court deems just and proper, and any other

               relief as allowed by law.

         PLAINTIFF REQUESTS A TRIAL BY JURY ON ALL ISSUES SO TRIABLE.




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   Respectfully submitted this 31st day of October, 2013.


                                                  BENEZRA & CULVER, P.C.

                                                  s/ Sarah J. Parady
                                                  ________________________________
                                                  John A. Culver, Esq.
                                                  Seth J. Benezra, Esq.
                                                  Sarah J. Parady, Esq.
                                                  274 Union Blvd., #220
                                                  Lakewood, CO 80228-1835
                                                  (303) 716-0254
                                                  (303) 716-0327 fax
                                                  jaculver@bc-law.com
                                                  sjbenezra@bc-law.com
                                                  sjparady@bc-law.com

   Plaintiff’s Address

   3233 E. Birch Avenue
   Parker, CO 80134




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